837 F.2d 763
    In re KLINGBERG SCHOOLS, an Illinois not-for-profitcorporation, Debtor.Jay STEINBERG, Trustee of the Estate of Klingberg Schools,an Illinois not-for-profit corporation, by certaincreditors, Plaintiff-Appellee.v.ILLINOIS DEPARTMENT OF MENTAL HEALTH AND DEVELOPMENTALDISABILITIES, Defendant-Appellant.
    No. 86-3100.
    United States Court of Appeals,Seventh Circuit.
    Argued Oct. 26, 1987.Decided Jan. 13, 1988.
    
      Appeal from Northern District of Illinois, Eastern Division;  Marvin E. Aspen, District Judge.
      Karen Rosenwinkel, Chicago, Ill., for defendant-appellant.
      John L. Gubbins, John L. Gubbins &amp; Assoc., Ltd., Chicago, Ill., for plaintiff-appellee.
      Before BAUER, Chief Judge, WOOD and MANION, Circuit Judges.
      PER CURIAM.
    
    
      1
      We agree with the district court that "the defendant improperly asserted a set-off, and not a recoupment, in violation of the automatic stay provisions of 11 U.S.C. Sec. 362."    In re Klingberg Schools, 68 B.R. 173, 180 (N.D.Ill.1986).
    
    
      2
      Defendant no longer opposes debtor's night care services claim.  Therefore, the issues discussed by the district court in the section captioned "Sovereign Immunity," which begins at 68 B.R. 176 and continues through the bottom of 68 B.R. 177, are now moot.  We accordingly do not reach those issues, but otherwise adopt the district court's opinion.    In re Klingberg Schools, 68 B.R. 173 (N.D.Ill.1986).
    
    The district court's order is
    
      3
      AFFIRMED.
    
    